                       Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 1 of 7
A0245D         (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                                                                                           JUN -6 2012
                                                           Eastern District of Arkansas                       JA:ME~

          UNITED STATES OF AMERICA                                            Judgment in a Criminal          ~se                            o   CL:ER
                               v.                                             (For Revocation of Probation or Supervised Release)
                 RICKY LEE JOHNSON

                                                                              Case No. 4:07CR00028-01 BSM
                                                                              USM No. 24479-009
                                                                              Latrece Gray
                                                                                                       Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)             Gen., Special & Standard             of the term of supervision.
~was found in violation of condition(s)                  General                          after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                             Nature of Violation                                       Violation Ended
General                             Failure to refrain from committing another crime                                04/12/2012

General                             Failure to refrain from use of unlawful controlled substance                    05/24/2011

Special                             Failure to pay restitution                                                      01/13/2011

Special                             Failure to participate in substance abuse treatment program                     10/21/2011

       The defendant is sentenced as provided in pages 2 through                  7      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
rJ/ The defendant has not violated condition(s) _S: . ~;. pe; . c;. ;i.:;:a:. . l____ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1722                           06/01/2012
                                                                          ~               \:     ~. ttee of Imposition of Judgment
Defendant's Year of Birth:             1979
                                                                          ~     /_J~~
City and State of Defendant's Re~idence:                                                                Signature of Judge
Greene County Jail
                                                                              BRIAN S. MILLER ,                    U. S.     DISTRICT JUDGE
                                                                                                     Name and Title of Judge

                                                                                      ls,- \_p-              ((_
                                                                                                                Date
                      Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 2 of 7
AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet lA

                                                                                             Judgment-Page      2    of     7
DEFENDANT: RICKY LEE JOHNSON
CASE NUMBER: 4:07CR00028-01 BSM

                                                        ADDITIONAL VIOLATIONS

                                                                                                                    Violation
Violation Number                 Nature of Violation                                                                Concluded
Standard 6                       Failure to notify probation officer 10 days prior to residence or employment       03/28/2012

                                 change
                      Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 3 of 7
  AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment
                                                                                               Judgment- Page   _..,.3_ of        7
  DEFENDANT: RICKY LEE JOHNSON
  CASE NUMBER: 4:07CR00028-01 BSM


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWENTY-ONE (21) MONTHS




     t/ The court makes the following recommendations to the Bureau of Prisons:
Defendant shall participate in residential substance abuse treatment during incarceration.



     t/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at    --------- D                         a.m.     .D     p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                       to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                               By -----~==~~==~~~~~~~-----­
                                                                                       DEPUTY UNITED STATES MARSHAL
                       Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 4 of 7
  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                     Judgment-Page      4    of          7
  DEFENDANT: RICKY LEE JOHNSON
  CASE NUMBER: 4:07CR00028-01 BSM
                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
THREE (3) YEARS



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
 tests thereafter as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)         the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)         the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
 4)         the defendant shall support his or her dependents and meet other family responsibilities;
 5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
 6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant sh.all notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sha}l1;1ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
                     Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 5 of 7
 AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C- Supervised Release
                                                                                         Judgment-Page   _5_ of        7
 DEFENDANT: RICKY LEE JOHNSON
 CASE NUMBER: 4:07CR00028-01 BSM

                                             SPECIAL CONDITIONS OF SUPERVISION

1. Restitution of $4,361.58 is mandatory and is payable during incarceration and upon release from the Bureau of Prisons.
During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. Beginning the first
month upon release from the Bureau of Prisons, payments will be 10 percent per month of the defendant's monthly gross
income. The interest is waived pursuant to 18 U.S.C. § 3612.
                   Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 6 of 7
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment- Page     6      of     7
DEFENDANT:                   RICKY LEE JOHNSON
CASE NUMBER:                 4:07CR00028-01 BSM
                                        CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                    Assessment                                           Fine                             Restitution
TOTALS         $     0.00                                               $0.00                           $ 4,361.58 (REIMPOSED)


D    The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.
                                                        - - -

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfeileral victims must
    be paiil before the United States is paid.

Name of Payee                                Total Loss*                          Restitution Ordered               Priority or Percentage




TOTALS                              $ _ _ _ _ _ _____.:0~                       $ _ _ _ _ _ _ _~0~


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the              D fine      X restitution.
     D the interest requirement for the           D     fine      D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113AofTitle 18 for offenses committed on
or after September 13, 1994, but before April23, 1996.
                    Case 4:07-cr-00028-BSM Document 119 Filed 06/06/12 Page 7 of 7

AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments
                                                                                                                        7_ of
                                                                                                       Judgment- Page _ _               7
DEFENDANT: RICKY LEE JOHNSON
CASE NUMBER: 4:07CR00028-01 BSM

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D    Lump sum payment of$                                        due immediately, balance due

           D not later than                                               , or
           ~ in accordance with          D C,        D     D,     D E,or          ~ F below); or

B     D    Payment to begin immediately (may be combined with                    D C,      D D, or    D F below); or
C     D Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    ~ Special instructions regarding the payment of criminal monetary penalties:

       Restitution of $4,361.58 is mandatory and is payable during incarceration and upon release from the Bureau of
       Prisons. During incarceration, the defendant will pay 50 percent per month of all funds that are available to him.
       Beginning the first month upon release from the Bureau of Prisons, payments will be 10 percent per month of the
       defendant's monthly gross income. The interest is waived pursuant to 18 USC§ 3612.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties 1s due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant ~nd Co-Defendant N~mes and Case Numbers (including defendant number), Joint and Several Amount and
     correspondmg payee, tf appropnate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
